Case 25-16137-MBK              Doc 293      Filed 07/08/25 Entered 07/08/25 21:19:02                      Desc Main
                                           Document     Page 1 of 9




     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)
     SAUL EWING LLP
     Turner N. Falk
     1500 Market Street, 38th Floor
     Philadelphia, PA 19102
     Telephone: (215) 972-7777
     turner.falk@saul.com
     -and-

     Lucian B. Murley
     1201 N. Market Street, Suite 2300
     Wilmington, DE 19801
     Telephone: (302) 421-6800
     luke.murley@saul.com
     -and-

     PORTER HEDGES LLP
     Eric M. English (pro hac vice pending)
     James A. Keefe (pro hac vice pending)
     1000 Main St., 36th Floor
     Houston, TX 77002
     Tel: (713) 226-6000
     Fax: (713) 226-6248
     eenglish@porterhedges.com
     jkeefe@porterhedges.com
     Counsel to KCE NY 3, LLC, KCE TX 2, LLC, KCE
     TX 7, LLC, KCE TX 8, LLC, and Key Capture Energy,
     LLC
     In re:                                                             Chapter 11

     POWIN, LLC, et al.,1                                               Case No. 25-16137 (MBK)

                                       Debtors.                         (Jointly Administered)




 1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: (i) Powin Project LLC [1583]; (ii) Powin, LLC [0504]; (iii) PEOS Holdings, LLC [5476]; (iv) Powin
     China Holdings 1, LLC [1422]; (v) Powin China Holdings 2, LLC [9713]; (vi) Charger Holdings, LLC [5241];
     (vii) Powin Energy Ontario Storage, LLC [8348]; (viii) Powin Energy Operating Holdings, LLC [2495]; and
     (ix) Powin Energy Operating, LLC [6487]. The Debtors’ mailing address is 20550 SW 115th Avenue Tualatin, OR
     97062.
Case 25-16137-MBK              Doc 293      Filed 07/08/25 Entered 07/08/25 21:19:02                     Desc Main
                                           Document     Page 2 of 9



 LIMITED OBJECTION OF KEY CAPTURE ENERGY, LLC, KCE NY 3, LLC, KCE TX
 2, LLC, KCE TX 7, LLC, AND KCE TX 8, LLC TO THE OMNIBUS MOTION OF THE
   DEBTORS FOR ENTRY OF AN ORDER (I) AUTHORIZING THE REJECTION OF
                    LEGACY CUSTOMER CONTRACTS AND
                       (II) GRANTING RELATED RELIEF

           KCE NY 3, LLC, KCE TX 2, LLC, KCE TX 7, LLC, KCE TX 8, LLC, and Key Capture

 Energy, LLC (together, the “KCE Companies” or “KCE”) file this limited objection (the

 “Objection”) to the Omnibus Motion of the Debtors for Entry of an Order (I) Authorizing the

 Rejection of Legacy Customer Contracts and (II) Granting Related Relief [D.I. 88] (the

 “Motion”).2

           KCE files this limited objection to preserve their rights under section 365(n) of chapter 11

 of title 11 of the United States Code (the “Bankruptcy Code”) with respect to the Contracts to

 which KCE is a party, which are identified in Schedule 1 to the Motion, Contract Nos. 153-160

 (collectively, the “KCE Contracts”). Among other things, the KCE Contracts contain a license

 given to KCE of certain of the Debtors’ intellectual property (the “Licensed IP”). The Motion and

 the proposed order that accompanies it fail to address the rights of customers, including KCE,

 pursuant to section 365(n) to continue to use the Licensed IP following rejection of the Contracts

 and the Debtors’ obligations to satisfy certain contractual obligations prior to such rejection.

           To resolve this Objection and to avoid any potential interference with KCE’s rights with

 respect to the Licensed IP, KCE requests that any order granting the Motion include language

 clarifying that such rejection is subject to the preservation of rights under section 365(n) of the

 Bankruptcy Code. In support of this Objection, KCE respectfully states as follows:




 2
     Capitalized terms used but not defined herein shall have the meaning given to them in the Motion.

                                                           2
Case 25-16137-MBK         Doc 293    Filed 07/08/25 Entered 07/08/25 21:19:02                Desc Main
                                    Document     Page 3 of 9



                              I.      RELEVANT BACKGROUND

        1.      The KCE Companies were customers of the pre-petition Debtors for the supply of

 utility scale power storage products and equipment and for the provision of critical infrastructure

 monitoring, maintenance, repair, and support services.        All equipment purchased under the

 relevant supply agreements with the Debtors was delivered and installed prior to the Petition Date.

 However, the relevant supply agreements and their corresponding long-term support services

 agreements have warranty and performance obligations that continue for several years beyond the

 delivery and installation of the relevant equipment.

        2.      With the Motion, the Debtors seek to reject the KCE Contracts, as identified in

 Schedule 1 to the Motion, Contract Nos. 153-160.

        3.      The KCE Contracts contain, among other things, grants of licenses from the pre-

 petition Debtors to KCE to use the Licensed IP. Specifically, each of Contracts 154, 156, 157, and

 160 is a purchase order issued pursuant to a master supply agreement which states as follows:

        Representations and Grant of License Regarding Intellectual Property Rights.
        Supplier represents and warrants to Buyer and each Project Company that (a)
        Supplier has fully investigated all Specifications relating to the Equipment
        (including any Equipment furnished by Supplier to Project Company), and based
        on such investigation and its past experience and superior knowledge with respect
        to the Equipment, has determined that the production, sale and use thereof will not
        infringe or misappropriate any patent, published patent application, trademark,
        trade secret, proprietary information, know-how, copyright, un-patented invention
        or any other intellectual property rights or other proprietary interests and (b) Project
        Company’s or Owner’s use of the Equipment will not infringe upon any such
        interests. Upon Delivery of the Equipment, Supplier hereby grants to Project
        Company and Owner an irrevocable, royalty-free license to use the intellectual
        property rights (and any other proprietary interests) in respect of the Equipment for
        the purpose of owning, installing, commissioning and operating the Equipment,
        conditioned only upon Project Company’s non-default of its payment obligations
        under the applicable Purchase Order. Upon full payment of the applicable PO
        Equipment Price, Supplier hereby grants to Project Company and Owner a
        worldwide, perpetual, non-exclusive, royalty-free, transferable right and license to
        use the intellectual property rights (and any other proprietary interests) in respect
        of the Equipment for the purpose of importing, purchasing, installing, using,
        operating, maintaining, repairing, and selling the Equipment.

                                                   3
Case 25-16137-MBK         Doc 293       Filed 07/08/25 Entered 07/08/25 21:19:02           Desc Main
                                       Document     Page 4 of 9




        ***

        Technology Escrow Agreement. At Buyer’s option, the Parties agree to establish
        a three-party Technology Escrow Agreement including Praxis Technology, LLC in
        the form attached as Exhibit E, to provide Buyer and an affected Project Company
        with conditional access to the escrow deposit materials (“Deposit Materials”)
        including, but not limited to, the source code and any revisions, corrections,
        enhancements, upgrades, updates, modifications, new releases, supplements or
        other changes thereto, a comprehensive description of the build environment,
        hardware requirements, build instructions, a comprehensive list of software tools
        required and other components an d instructions necessary for a reasonably skilled
        software and / or hardware engineer(s) to compile, replicate or otherwise reproduce
        and maintain the Equipment and related software, hardware and other technology
        in accordance with this Agreement.

 Sections 14.2 and 5.4 of that certain Master Equipment Supply Agreement dated as of January 15,
 2019, between Key Capture Energy, LLC as Buyer and Powin, LLC (as successor in interest to
 Powin Energy Corporation) as Supplier, incorporated into each of Contracts 154, 156, 157, and
 160.
        4.      Pursuant to the KCE Contracts, the KCE Companies (and/or their customers)

 receive services from the Debtors. Continued access to the Licensed IP was a critical part of the

 bargain between KCE and the Debtors, as reflected in the KCE Contracts, and is essential for the

 continued operation of the critical infrastructure facilities to which the KCE Contracts relate.

        5.      KCE therefore, if the Motion is granted, elects under section 365(n) of the

 Bankruptcy Code to continue to use the Licensed IP as provided for in that section.

                                 II.      LIMITED OBJECTION

        A.      Applicable Law

        6.      Section 365(a) of the Bankruptcy Code permits a trustee or debtor-in-possession,

 subject to court approval, to assume or reject any executory contract of the debtor. The rejection

 of an executory contract constitutes a breach of the contract as of the bankruptcy petition filing

 date, entitling the counterparty to damages. 11 U.S.C. § 365(g). Section 365(n) of the Bankruptcy

 Code allows a counterparty who is the licensee under an intellectual property license to elect to

 retain certain rights under the contract notwithstanding the debtor’s rejection as follows:

                                                  4
Case 25-16137-MBK         Doc 293     Filed 07/08/25 Entered 07/08/25 21:19:02                Desc Main
                                     Document     Page 5 of 9



        (n)(1) If the trustee rejects an executory contract under which the debtor is a
        licensor of a right to intellectual property, the licensee under such contract may
        elect—

                ...

                (B) to retain its rights (including a right to enforce any exclusivity provision
                of such contract, but excluding any other right under applicable
                nonbankruptcy law to specific performance of such contract) under such
                contract and under any agreement supplementary to such contract, to such
                intellectual property (including any embodiment of such intellectual
                property to the extent protected by applicable nonbankruptcy law), as such
                rights existed immediately before the case commenced, for—

                        (i) the duration of such contract; and

                        (ii) any period for which such contract may be extended by the
                        licensee as of right under applicable nonbankruptcy law.

                (2) If the licensee elects to retain its rights, as described in paragraph (1)(B)
                of this subsection, under such contract—

                        (A) the trustee shall allow the licensee to exercise such rights;

                        (B) the licensee shall make all royalty payments due under such
                        contract for the duration of such contract and for any period
                        described in paragraph (1)(B) of this subsection for which the
                        licensee extends such contract; and

                        (C) the licensee shall be deemed to waive—

                                (i) any right of setoff it may have with respect to such
                                contract under this title or applicable nonbankruptcy law;
                                and

                                (ii) any claim allowable under section 503(b) of this title
                                arising from the performance of such contract.

 11 U.S.C. § 365(n)(1), (2).

        7.      The law is clear that as a result of their election to retain their rights with respect to

 the Licensed IP, the KCE Companies retain those rights, together with any duties imposed on them

 by the KCE Contracts with respect to the Licensed IP. In re Exide Techs., 607 F.3d 957, 966 (3d

 Cir. 2010) (“Thus, in the event that a bankrupt licensor rejects an intellectual property license,


                                                    5
Case 25-16137-MBK        Doc 293    Filed 07/08/25 Entered 07/08/25 21:19:02           Desc Main
                                   Document     Page 6 of 9



 § 365(n) allows a licensee to retain its licensed rights—along with its duties—absent any

 obligations owed by the debtor-licensor.”). The KCE Companies retain their rights to the Licensed

 IP free from any interference with those rights under the KCE Contracts or any supplemental

 agreements. 11 U.S.C. § 365(n)(2), (3).

        B.     Any Order Granting the Motion Should Address Rights Retained Under
               Section 365(n)

        8.     The KCE Contracts clearly provide the KCE Companies with licenses of the

 Licensed IP, yet the Motion and the proposed order that accompanies it fail to address the KCE

 Companies’ rights with respect to the Licensed IP following rejection of the KCE Contracts.

        9.     Given that the KCE Companies have elected to retain their rights to the Licensed

 IP, any order granting the Motion must include language acknowledging those rights. KCE

 suggests that paragraph 2 of the proposed order submitted with the Motion be revised as follows:

        To the extent that they are executory, the Contracts are deemed rejected effective
        as of the Rejection Date, subject to the KCE Companies’ election to preserve their
        rights under 11 U.S.C. § 365(n).

        10.    To be clear, the KCE Companies do not, in principle, oppose the Debtors’ rejection

 of the KCE Contracts as contemplated in the Motion. However, KCE objects to any effort by the

 Debtors to terminate the KCE Companies’ rights to the Licensed IP under the KCE Contracts or

 increase the potential for interference with the KCE Companies’ rights to the Licensed IP.

 Accordingly, KCE requests that any order granting the Motion appropriately include language

 clarifying that such rejection is subject to the retention of rights under section 365(n) of the

 Bankruptcy Code so that disruptions to KCE’s business is minimized.

        11.    KCE further objects to paragraph 2 of the proposed order to the extent that it

 purports to allow the Debtors to de-designate or ‘unreject’ certain KCE Contracts.




                                                 6
Case 25-16137-MBK           Doc 293    Filed 07/08/25 Entered 07/08/25 21:19:02              Desc Main
                                      Document     Page 7 of 9



        12.     Since the Debtors’ bankruptcy filing, the Debtors have failed to perform their

 required services under the KCE Contracts, and KCE has been compelled to cause these services

 to be performed itself to maintain uninterrupted facility operations. As a direct result of the Debtors’

 non-performance, KCE has had to cause all reactive maintenance at the facilities (including

 repair/replacement    of    equipment    as   necessary)    and    remote    monitoring     (including

 correction/clearing of equipment faults and routine balancing of equipment to ensure proper

 operation) to occur. KCE further anticipates performing, or causing to be performed, all planned

 maintenance services to ensure proper operation of the equipment at the sites (for example,

 checking equipment, resetting breakers, cleaning inverters). To perform the planned and reactive

 maintenance services—services the Debtors are contractually required to provide—KCE must

 deploy its own employees and third-party vendors on-site. These efforts are critical to ensuring

 operational continuity and minimizing risk of service disruption.

        13.     Having failed to perform under the KCE Contracts, forcing KCE to step in to fulfill

 the Debtors’ obligations at considerable expense and in reliance on the Debtors’ stated intent to

 reject the KCE Contracts, it would be unfair and improper for the Debtors to be allowed to reverse

 course and undo their rejection of the KCE Contracts. KCE has had to make strategic and financial

 decisions—including assuming operational responsibility and allocating personnel and

 resources—based on the reasonable expectation that the KCE Contracts were being rejected. Any

 attempt to “unreject” would not only undermine the protections afforded to licensees under section

 365(n), but would also impose further disruption and risk to critical energy infrastructure, to the

 detriment of all stakeholders involved. Nor could the Debtors “cure” these post-petition breaches

 of the KCE Contracts.




                                                   7
Case 25-16137-MBK         Doc 293     Filed 07/08/25 Entered 07/08/25 21:19:02             Desc Main
                                     Document     Page 8 of 9



                              III.    RESERVATION OF RIGHTS

        14.     Nothing in this Objection is intended to be, or should be construed as, a waiver by

 the KCE Companies of any of their rights under the KCE Contracts, the Bankruptcy Code, or

 applicable law. KCE expressly reserves all such rights, including, without limitation, its right to:

 (a) all intellectual property under the KCE Contracts; (b) supplement and/or amend this Objection

 and to assert any additional objections at any hearing concerning the Motion; (c) assert any

 nonmonetary defaults under the KCE Contracts; (d) assert any rights for indemnification or

 contribution arising under the KCE Contracts; and (e) assert any further objections as they deem

 necessary or appropriate.

        WHEREFORE, KCE respectfully requests (i) that any Court order granting the Motion

 include either general language that the rejections of any and all KCE Contracts specified in

 Schedule 1 to the Motion are subject to any and all elections made pursuant to section 365(n) of

 the Bankruptcy Code or specific language that the rejection of Contract Nos. 153 through 160 in

 Schedule 1 to the Motion is subject to KCE’s election to preserve their rights under section 365(n)

 of the Bankruptcy Code; (ii) that notwithstanding any rejection of the KCE Contracts, the Debtors

 are not relieved of their obligation to deliver to KCE all intellectual property they are entitled to

 under the KCE Contracts; and (iii) such other and further relief as the Court deems just and proper.




                                                  8
Case 25-16137-MBK       Doc 293    Filed 07/08/25 Entered 07/08/25 21:19:02       Desc Main
                                  Document     Page 9 of 9



  Dated: July 8, 2025                    Respectfully submitted,

                                         SAUL EWING LLP

                                         /s/ Turner N. Falk
                                         Turner N. Falk
                                         1500 Market Street, 38th Floor
                                         Philadelphia, PA 19102
                                         Telephone: (215) 972-7777
                                         turner.falk@saul.com
                                         -and-

                                         Lucian B. Murley
                                         1201 N. Market Street, Suite 2300
                                         Wilmington, DE 19801
                                         Telephone: (302) 421-6800
                                         luke.murley@saul.com
                                         -and-

                                         PORTER HEDGES LLP

                                         Eric M. English (pro hac vice pending)
                                         James A. Keefe (pro hac vice pending)
                                         1000 Main St., 36th Floor
                                         Houston, TX 77002
                                         Tel: (713) 226-6000
                                         Fax: (713) 226-6248
                                         eenglish@porterhedges.com
                                         jkeefe@porterhedges.com

                                         Counsel to Key Capture Energy, LLC; KCE NY 3,
                                         LLC; KCE TX 2, LLC; KCE TX 7, LLC; and KCE
                                         TX 8, LLC




                                                 9
